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      IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

           MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION




UNITED STATES OF AMERICA             )
                                     )
      v.                             )   CRIMINAL ACTION NO.
                                     )      3:94cr0025-T
JEFFERY SHEALEY                      )         (WO)

                                   ORDER

      It is ORDERED that the petition to modify the conditions

of   supervised      release    (Doc.    No.   1014)    is    granted      as

requested.

      DONE, this the 17th day of May, 2005.



                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
